DTC (3/5/09) ljr                 UNITED STATES BANKRUPTCY COURT                      U.S. BANKRUPTCY COURT
                                          District of Oregon                          DISTRICT OF OREGON
                                                                                             FILED
In re                                            )
 Elbert G Garboden                               ) Case No. 15−35133−rld7                January 10, 2017
 Sherry L Garboden                               )                                  Clerk, U.S. Bankruptcy Court
Debtor(s)                                        ) ORDER DISCHARGING
                                                 ) TRUSTEE AND                             BY ljr DEPUTY
                                                 ) CLOSING CASE
                                                 )
                                                 )


The trustee of the above debtor's estate, if one has been appointed, has:

  1. (If Chapter 7 case) either filed a report of no assets or reduced the property and effects of the debtor's
     estate to cash;

  2. Fully administered any estate funds and property on hand; and

  3. Performed all other and further duties required to date in the administration of said estate.

IT IS THEREFORE ORDERED that, if a trustee has been appointed, upon filing any final report or account
required by the UST, and without further court order, the trustee shall be discharged as the trustee of the
debtor's estate.

IT IS FURTHER ORDERED that this case is closed; the case will be closed only for administrative
purposes if this case was dismissed; and the court shall retain jurisdiction over any adversary proceeding
pending at the time of closure.

                                                                                Clerk, U.S. Bankruptcy Court




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